  USCA Case #23-1174              Document #2106236              Filed: 03/18/2025        Page 1 of 1
                       United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 23-1174                                                     September Term, 2024
                                                                            FERC-CP16-454-000
                                                                            FERC-CP16-454-003
                                                                            FERC-CP16-455-000
                                                                            FERC-CP16-455-002
                                                                            FERC-CP20-481-000
                                                             Filed On: March 18, 2025
City of Port Isabel, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent

------------------------------

Rio Bravo Pipeline Company, LLC and Rio
Grande LNG, LLC,
                  Intervenors
------------------------------

Consolidated with 23-1221


         BEFORE:           Srinivasan, Chief Judge; Henderson*, Millett, Pillard, Wilkins,
                           Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                               ORDER

       Upon consideration of intervenors’ joint motion for leave to file a reply in support of
the petitions for rehearing or rehearing en banc, the joint opposition thereto, and the
lodged joint reply, it is

       ORDERED that the motion for leave to file a reply be denied. The clerk is
directed to note the docket accordingly.

                                              Per Curiam

                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Daniel J. Reidy
                                                               Deputy Clerk

* Circuit Judge Henderson did not participate in this matter.
